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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,1 Case No. 08-13141 (KJC)
Debtors. (Jointly Administered)

Hearing Date: To Be Determined
Objections Due: May 5, 2009 at 4:00 p.m. (ET)

CERTIFICATION OF ALAN D. HOLTZ

Alan D. Holtz, managing director, hereby certifies that:

1. I am a managing director in the firm of AlixPartners, LLP (“AlixPartners”) and I
am duly authorized to make this Certification on behalf of AlixPartners. AlixPartners was
retained by the Official Committee of Unsecured Creditors as its financial advisor pursuant to an
order of this Court. This certification is made in support of the First Interim Fee Application of

AlixPartners, LLP, financial advisor to the Official Committee of Unsecured Creditors (the

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company (0355),
435 Production Company (8865); 5800 Sunset Productions Inc. (5510), Baltimore Newspaper Networks, Inc. (8258), California Community News
Corporation (5306), Candle Holdings Corporation (5626), Channel 20, Inc. (7399), Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago Avenue
Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439);
Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579), Chicagoland Publishing Company (3237), Chicagoland
Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of America, Inc. (3811);
Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327); foresalebyowner.com corp. (0219), ForSaleByOwner.com
Referral Services, LLC (9205); Fortify Holdings Corporation (5628), Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505);
GreenCo., Inc. (7416); Heart & Crown Advertising, Inc. (9808), Homeowners Realty, Inc. (1507), Homestead Publishing Co. (4903); Hoy, LLC (8033);
Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Intemet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company IT,
LLC; KJAH Inc. (4014); KPLR, Inc. (7943), KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347) Los Angeles Times Communications LLC
(1324); Los Angeles Times Intemational, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416), Magic T Music Publishing Company (6522); NBBF,
LLC (0893); Neocomm, Inc. (7208), New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc. (5621); Newscom Services, Inc.
(4817); Newspapers Readers Agency, Inc. (7335); North Michigan Production Company (5466), North Orange Avenue Properties, Inc. (4056); Oak Brook
Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of
Washington (4750); Sentinel Communications News Ventures, Inc. (2027), Shepard’s Inc. (7931), Signs of Distinction, Inc. (3603); Southern Connecticut
Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612), Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun
Company (6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Moming Call, Inc. (7560); The Other Company LLC (5337),
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc. (1326);
TMLH2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066), Towering T Music Publishing
Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569), Tribune Broadcasting Holdco, LLC (2534); Tribune
Broadcasting News Network, Inc. (1088); Tribune California Properties, Inc. (1629), Tribune Direct Marketing, Inc. (1479); Tribune Entertainment
Company (6232), Tribune Entertainment Production Company (5393), Tribune Finance, LLC (2537), Tribune Finance Service Center, Inc. (7844);
Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847);
Tribune Media Services, Inc. (1080), Tribune Network Holdings Company (9936), Tribune New York Newspaper Holdings, LLC (7278), Tribune NM,
Inc, (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New
Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975), ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587), WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530);
WLVI Inc. (8074); WPIX, Inc. (0191); and WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North
Michigan Avenue, Chicago, Illinois 60611.

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“Application”) and in compliance with Local Rule 2016-2 (the “Rule’’) of this Court, and with
the United States Trustee’s Guidelines for Review Applications for Compensation and
Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the “Guidelines”).

2. I have read the Application and I certify that the Application substantially
complies with the Rule and the Guidelines.

Dated: Wilmington, Delaware ALIXPARTNERS, LLP

April 15, 2009 \ ne
YW

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Financial Advisor to the Official Committee
of Unsecured Creditors

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